                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DMSION
                                 No. 7:18-CR-75-D-2


UNITED STATES OF AMERICA,                     )
                                              )
                   v.                         )               ORDER
                                              )
ANDRE LANCASTER,                              )
                                              ).
                          Defendant.          )


       On May 1, 2020, Andre Lancaster ("Lancaster'') moved pro se for compassionate release

under the First Step Act ("First Step Act''), Pub. L. No. 115-391, § 603(b), 132 Stat. 5194, 5239-41

(2018) (codi:fiedasamendedat 18U.S.C. § 3582) [D.E.116]. OnMay7,2020,Lancastersubmitted

medical records [D.E. 117]. On May 19, 2020, Lancaster submitted additional medical records

[D.E. 119]. ·On June 8, 2020, Lancaster submitted a declaration about his efforts to exhaust

administrative remedies [D.E. 120]. On August 12, 2020, Lancaster through counsel submitted a

memorandum in supportofhis motion [D.E. 124]. On August 25, 2020, the United States responded

in opposition [D.E. 127]. As explained below, the court denies Lancaster's motion.

       On September 7, 2018, pursuant to a written plea agreement, Lancaster pleaded guilty to

conspiracy to distribute and possess with intent to distribute a quantity of heroin (count one) , and

possession with intent to distribute a quantity of heroin (count six). See [D.E. 52]. On January 25,

2019, the court held Lancaster's sentencing hearing. See [D.E. 88]. At the· hearing, the court

adopted the facts set forth in the Presentence Investigation Report ("PSR"). See [D.E. 89]; Fed. R.

Crim. P. 32(i)(3)(A}-{B). The court calculated Lancaster's total offense level to be 24, his criminal

history category to be m, and his advisory guideline range to be 63 to 78 months' imprisonment to




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run concurrently. See [D.E. 89]. After granting the government's downward departure motion and

thoroughly considering all relevant factors under 18 U.S.C. § 3553(a), the court sentenced Lancaster

to 60 months' imprisonment. See id.; [D.E. 88]. Lancaster did not appeal.

       On December 21, 2018, the First Step Act went into effect. See First Step Act, Pub. L. No.

115-391, 132 Stat. 5194, 5249 (2018). Before the First Step Act, onlytheDirectoroftheBureauof

Prisons ("BOP") could file a motion for compassionate release. Under the First Step Act, a

sentencing court may modify a sentence of imprisonment either upon a motion ofthe Director ofthe

BOP "or upon motion of the defendant after the defendant has fully exhausted all administrative

rights to appeal a failure of the [BOP] to bring a motion on the defendant's behalf or the lapse of 30

days from the receipt of such a request by the warden of the defendant's facility, whichever is

earlier." 18 U.S.C. § 3582(c)(l)(A).

       After a defendant meets the exhaustion requirement, a defendant must (1) demonstrate

"extraordinary and compelling reasons" for a sentence reduction, or (2) be at least 70 years old, have

served at least 30 years in prison, and have the Director of the BOP determine that the defendant is

not a danger to the safety of another person or the community. Id. In deciding to reduce a sentence

undersection3582(c)(l)(A), acourtmustconsultthe sentencing factors in 18 U.S.C. § 3553(a) and

must ensure that a sentence reduction is "consistent with applicable policy statements" ofthe United

States Sentencing Commission ("Commission"). Id.

       The Commission policy statements include U.S.S.G. § lBl.13. Section lBl.13 essentially

restates section 3582(c)(l)(A)'s requirements and adds that the defendant not be "a danger to the

safety of any other person or to the community." U.S.S.G. § lBl.13(2). Section 1Bl.13's

application notes provide examples of extraordinary and compelling reasons, including (A) serious

medical conditions ofthe defendant, (B) advanced age ofthe defendant when coupled with a serious

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deterioration in physical and mental health due to aging and having served at least 10 years or 75%

of his or her imprisonment term (whichever is less), (C) family circumstances, or (D) another

extraordinary and compelling reason. See U;S.S.G. § lB 1.13 cmt. n.1. 1 Application note 2 states


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           Application note 1 to U.S.S.G. § lBl.13 states in full:

       1.      Extraordinary and Compelling Reasons.-Provided the defendant meets the
               requirements of subdivision (2), extraordinary and compelling reasons exist
               under any of the circumstances set forth below:

               (A) Medical Condition of the Defendant.-

                       (i) The defendant is suffering from a terminal illness (i.e., a serious and
                           advanced illness with an end oflife trajectory). A specific prognosis
                           of life expectancy (i.e., a probability of death within a specific time·
                           period) is not required. Examples include metastatic solid-tumor
                           cancer, amyotrophic lateral sclerosis (ALS), end-stage organ
                           disease, and advanced dementia

                       (ii) The defendant is--

                             (1) suffering from a serious physical or medical condition,

                             (II) suffering from a serious functional or cognitive impairment,
                                  or

                             (III) experiencing deteriorating physical or mental health because
                                  of the aging process,

                             that substantially djmjnj shes the ability of the defendant to
                             provide self-care within the environment ofa correctional facility
                             and from which he or she is not expected to recover.

                 (B) Age of the Defendant-The defendant (i) is at least 65 years old; (ii)
                      is experiencing a serious deterioration in physical or inental health
                      because ofthe aging process; and (iii) has served at least 10 years or 75
                      percent of his or her term of imprisonment, whichever is less.

                 (C) Family Circumstances.-

                      (i) The death or incapacitation ofthe caregiver ofthe defendant's minor
                          child or minor children.

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that "an extraordinary and compelling reason need not have been unforeseen at the time of

sentencing in order to warrant a reduction in the term of imprisonment." U.S.S.G. § 1B1J3 cmt.

n.2. Thus, the fact ''that an extraordinary and compelling reason reasonably could have been known ·

or anticipated by the sentencing court does not preclude consideration for a reduction under this

policy statement." Id. Application note 3 states, "[p]ursuant to 28 U.S.C. § 994(t), rehabilitation

of the defendant is not, by itself, an extraordinary and pompelling reason for purposes of this policy

statement." U.S.S.G. § 1B1.13 cmt. n.3.

        The Commission has lacked a quorum since Congress enacted the First Step Act and has not

updated U.S.S.G. § 1B1.13 to account for the First Step Act. Accordingly, section 1B1.13 does not

provide a policy where an inmate files a motion for a sentence reduction under 18 U.S.C. §

3582(c)(1 )(A). Nevertheless, section 1B 1.13 provides applicable policy when assessing an inmate's

motion, but a court independently determines whether "extraordinary and compelling reasons"

warrant a sentence reduction under 18 U.S.C. § 3582(c)(l)(A)(i). See,~ United States v. Clark,

No. 1:09-cr-336-1, 2020 WL 1874140, at *2 (M.D.N.C. Apr. 15, 2020) (unpublished). In doing so,

the court consults not only U.S.S.G. § 1B1.13, but also the text of 18 U.S.C. § 3582(c)(l)(A) and

the section 3553(a) factors. See,~ id.; Dinning v. United States, No. 2:12-cr-84, 2020 WL

 1889361, at •2 (E.D. Va. Apr. 16, 2020) (unpublished).


                    (ii) The incapacitation of the defendant's spouse or registered partner
                         when the defendant would be the only available caregiver for the
                         spouse or registered partner.

               (D) Other Reasons.-A.s determined by the Director of the Bureau of
                   Prisons, there exists in the defendant's case an extraordinary. and
                   compelling reason oth¢r than, or in combination with, the reasons
                   described in subdivisions (A) through (C).            ·

U.S.S.G. § 1B1.13 cmt. n.1.

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       Lancaster is age 51 and seeks compassionate release pursuant to section 3582(c)(l)(A)(i).

In support, Lancaster relies on the "other reasons" policy statement in application note l(D) to

U.S.S.G. § 1B1.13. See [D.E.116, 124]. Specifically,LancastercitestheCOVID-19pandemicand

his diabetes, high blood pressure, and high cholesterol. See [D.E. 124] 1-2; [D.E. 116] 3.

       Asfotexhaustionofadministrativeremediesunder 18 U.S.C. § 3582(c)(l)(A), on April 23,

2020, Lancaster submitted a compassionate release request to the Warden ofthe Federal Correctional

Institute in Petersburg, Virginia. [D.E. 120] 1. On May 29, 2020, Lancaster received a "cop out''

rejecting his request. See id. at 2; [D.E. 124] 2. The government has not invoked section 3582's

exhaustion requirements. Cf. United States v. Alam, 960 F.3d 831, 833-34 (6th Cir. 2020).2

Accordingly, the court assumes without deciding that Lancaster has exhausted his administrative

remedies under 18 U.S.C. § 3582(c)(l)(A) and addresses Lancaster's claims on the merits.

       As for the "other reasons" policy statement, the court assumes without deciding that

Lancaster's diabetes, high blood pressure, and high cholesterol, coupled with the COVID-19

pandemic are extraordinary circumstances consistent with application note 1(D). Cf. United States

v. Rai~ 954 F.3d 594,597 (3d Cir. 2020) ("[T]he mere existence ofCOVID-19 in society and the

possibility that it may spread to a particular prison alone cannot independently justify compassionate

release, especially considering BOP's statutory role, and its extensive and professional efforts to
                                              <


curtail the virus's spread."). Even so, the section 3553(a) factors counsel against reducing

Lancaster's sentence. See United States v. Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020); Clark,

2020 WL 1874140, at *3--8. Lancaster was a leader in a serious federal conspiracy, distributing over


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          The Fourth Circuit has not addressed whether section 3582' s exhaustion requirement is a
jurisdictional or claims-processing requirement. The court assumes without deciding that the
requirement is a claims-processing rule, and! that the government must ''properly invoke" the rule
for this court to enforce it. See AJam, 960 F~3d at 833-34.

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90 grams of heroin. See PSR [D.E. 83] ff 13-18. Lancaster also maintained a residence for the

purpose of manufacturing and distributing heroin. See id. Moreover, Lancaster has committed

felony drug offenses throughout his adult life and needs to be incapacitated. See id.      ff 13-28,
23-25, 27. Indeed, seven state court convictions, six ofwhich were for drug-related charges, did not

deter Lancaster. See id. ff 23-27, 29. Furthermore, Lancaster's proposed release plan merely states

that he wishes to live with his sister and work for his brother-in-law. See [D.E. 116] 4. Having

considered the entire record, Lancaster's medical issues, the steps that the BOP has taken to address

COVID-19 and treat Lancaster, the section 3553(a) factors, Lancaster's arguments, and the need to

punish Lancaster for his criminal behavior, to incapacitate Lancaster, to promote respect for the law,

to deter others, and to protect society, the court declines to grant Lancaster's motion for

compassionate release.

       In sum, the court DENIES Lancaster's motion for compassionate release [D.E. 116].

       SO ORDERED. This (p day ofNovember 2020.




                                                           JSC.DEVERID
                                                           United States District Judge




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